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        (additional counsel listed on signature page
   11   of Plaintiffs’ Opposition to Defendants’
        Amended Motion to Compel Arbitration)
   12
        Attorneys for Plaintiffs Mitch Oberstein, Gary
   13   Matty, and Sophie Burke, on behalf of
        themselves and all those similarly situated
   14
   15
   16                      UNITED STATES DISTRICT COURT
   17
                          CENTRAL DISTRICT OF CALIFORNIA
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   19
   20   Mitch Oberstein, Gary Matty, and Sophie Case No. 2:20-cv-03888-GW-GJS
        Burke, on behalf of themselves and all
   21   those similarly situated,
                                                DECLARATION OF ADAM B.
   22                       Plaintiffs,         WOLFSON IN SUPPORT OF
                                                PLAINTIFFS’ OPPOSITION TO
   23                                           DEFENDANTS’ AMENDED
        v.                                      MOTION TO COMPEL
   24                                           ARBITRATION
        Live Nation Entertainment, Inc., and
   25   Ticketmaster LLC,                       The Honorable George H. Wu
   26                     Defendants.
   27
   28
                                                         WOLFSON DECLARATION ISO PLAINTIFFS’
                                                         OPPOSITION TO DEFENDANTS’ AMENDED
                                                              MOTION TO COMPEL ARBITRATION
                                                                 CASE NO. 2:20-CV-03888-GW-GJS
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    1         I, Adam B. Wolfson, declare as follows:
    2         1.    I am a partner at the law firm of Quinn Emanuel Urquhart & Sullivan,
    3 LLP, attorneys for Plaintiffs Mitch Oberstein, Gary Matty, and Sophie Burke
    4 (together, “Plaintiffs”). I am an attorney in good standing in the State of California.
    5 I am making this Declaration in support of Plaintiffs’ Opposition to Defendants’
    6 Amended Motion to Compel Arbitration, and have personal knowledge of the facts
    7 set forth below; if called upon to do so, I can and will competently testify thereto.
    8         2.    Attached hereto as Exhibit A is a true and correct copy of
    9 correspondence between counsel for Plaintiffs and counsel for Defendants, dated
   10 May 28, 2020.
   11         3.    Attached hereto as Exhibit B is a true and correct copy of Live Nation
   12 Entertainment, Inc.’s Form 10-K, dated March 1, 2021 and available at
   13 https://investors.livenationentertainment.com/sec-filings/all-sec-
   14 filings/content/0001335258-21-000009/0001335258-21-000009.pdf.
   15         4.     Attached hereto as Exhibit C is a true and correct copy of the domain
   16 statistics for livenation.com provided by domain.com, dated June 29, 2020.
   17         5.    Attached hereto as Exhibit D is a true and correct copy of the
   18 Declaration of Kimberly Tobias that was previously filed in Himber v. Live Nation
   19 Worldwide, Inc., 16-cv-05001-JS-GRB, ECF No. 34 (E.D.N.Y. Sept. 11, 2017)
   20         6.    Attached hereto as Exhibit E is a true and correct copy of the
   21 Ticketmaster U.S. Customer Service Contact page, dated February 27, 2021, and
   22 accessed by clicking the “email” link in the Live Nation Terms of Use.
   23         7.    Attached hereto as Exhibit F is a true and correct copy of a redline
   24 showing the changes to Ticketmaster’s Terms of Use between December 7, 2018
   25 and June 25, 2019.
   26         8.    Attached hereto as Exhibit G is a true and correct copy of the transcript
   27 of the deposition of Kimberly Tobias, dated March 5, 2021.
   28         9.    Attached hereto as Exhibit H is a true and correct copy of the court’s
                                                          WOLFSON DECLARATION ISO PLAINTIFFS’
                                                  1       OPPOSITION TO DEFENDANTS’ AMENDED
                                                               MOTION TO COMPEL ARBITRATION
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    1 order denying defendants’ motion to compel arbitration, and granting in part and
    2 denying in part defendants’ motion to dismiss in Staley v. Gilead Scis., Inc., Case
    3 3:19-cv-02573-EMC, ECF No. 558 at 14 (N.D. Cal. Mar. 12, 2021).
    4        10.    Attached hereto as Exhibit I is a true and correct copy of the
    5 “Ticketmaster Terms of Use,” which were accessed from within the United
    6 Kingdom on or around February 3, 2021.
    7        11.    Attached hereto as Exhibit J is a true and correct copy of the domain
    8 statistics for ticketmaster.com provided by domain.com, dated June 29, 2020.
    9        12.    Attached hereto as Exhibit K is a true and correct copy of the
   10 Declaration of Kimberly Tobias in Support of Defendants’ Motion to Compel
   11 Arbitration, which was previously filed in Lee v. Ticketmaster LLC, Case 3:18-cv-
   12 05987-VC, ECF No. 26 (N.D. Cal. Nov. 30, 2018), and which was previously
   13 marked as Exhibit 11 at the deposition of Kimberly Tobias.
   14        13.    Attached hereto as Exhibit L is a true and correct copy of a screenshot
   15 that was previously filed as “Exhibit O” to the Declaration of Kimberly Tobias in
   16 Support of Defendants’ Motion to Compel Arbitration, which was previously filed
   17 in Lee v. Ticketmaster LLC, Case 3:18-cv-05987-VC, ECF No. 26-15 (N.D. Cal.
   18 Nov. 30, 2018), and which was previously marked as Exhibit 10 at the deposition of
   19 Kimberly Tobias.
   20        14.    Attached hereto as Exhibit M is a true and correct copy of a document
   21 produced in discovery bearing Bates Nos. TM00000001-TM00000004, and which
   22 was previously marked as Exhibit 14 in the deposition of Kimberly Tobias.
   23        15.    Attached hereto as Exhibit N is a true and correct copy of a document
   24 produced in discovery bearing Bates No. TM00000199.
   25        16.    Attached hereto as Exhibit O is a true and correct copy of a document
   26 produced in discovery bearing the Bates Nos. TM00000063-TM00000064, and
   27 which was previously marked as Exhibit 12 in the deposition of Kimberly Tobias.
   28        17.    Attached hereto as Exhibit P is a true and correct copy of a typography
                                                        WOLFSON DECLARATION ISO PLAINTIFFS’
                                                 2      OPPOSITION TO DEFENDANTS’ AMENDED
                                                             MOTION TO COMPEL ARBITRATION
                                                                CASE NO. 2:20-CV-03888-GW-GJS
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    1 guide provided by Ticketmaster Design, dated March 19, 2021.
    2        18.   Attached hereto as Exhibit Q is a true and correct copy of a document
    3 produced in discovery bearing Bates Nos. TM00000170-TM00000174, and which
    4 was previously marked as Exhibit 5 in the deposition of Kimberly Tobias.
    5        19.   Attached hereto as Exhibit R is a true and correct copy of a document
    6 produced in discovery bearing Bates Nos. TM00000145-TM00000152.
    7        20.   Attached hereto as Exhibit S is a true and correct copy of Defendants’
    8 Reply in Support of Motion to Compel Arbitration, which was previously filed in
    9 Dickey v. Ticketmaster, LLC, Case No. 2:18-cv-09052-GHW-GJS, ECF No. 29
   10 (C.D. Cal. Feb. 8, 2019).
   11
   12        I declare under penalty of perjury that the foregoing is true and correct.
   13 Executed on March 19, 2021
   14
   15                                                      /s/ Adam B. Wolfson
   16                                                         Adam B. Wolfson
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                                                         WOLFSON DECLARATION ISO PLAINTIFFS’
                                                  3      OPPOSITION TO DEFENDANTS’ AMENDED
                                                              MOTION TO COMPEL ARBITRATION
                                                                 CASE NO. 2:20-CV-03888-GW-GJS
